                IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

                        THIRD JUDICIAL DISTRICT AT ANCHORAGE

RAMIL LAURETA,

                 Plaintiff,

v.

FOOD SERVICES OF AMERICA, INC.,

                 Defendant.                                Case No. 3AN-18-10278CI



       NOTICE TO SUPERIOR COURT OF FILING NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that on November 20, 2018, the Defendant, Food

Services of America, Inc., named as Defendant in the Complaint in this action, filed in

the United States District Court for the District of Alaska, at Anchorage, Alaska, its

notice of removal from state court, and that a copy of said notice of removal is on file

with the above-captioned court.

        PLEASE TAKE FURTHER NOTICE that pursuant to 28 U.S.C. § 1446(d), the

filing of said notice of removal in the United States District Court, together with a filing

of a copy of said notice with this court, effects the removal of this action and the above-

captioned court may proceed no further, unless and until the case is remanded.

        A copy of the notice of removal being filed concurrently in the United States

District Court for the District of Alaska is attached hereto.



Notice to Superior Court of Filing Notice of Removal
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                                                     EXHIBIT
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          DATED this 20th day of November, 2018.

                                                      DUCEY & ASSOCIATES LLC
                                                      Attorneys for Defendant
                                                      Food Services of America, Inc.




                                                      Cynta L. Ducey
                                                      Alaska Bar No. 8310161




           CERTIFICATE OF SERVICE

 This certifies that I am an authorized agent for Ducey
 & Associates LLC for service of papers pursuant to
 Civil Rule 5, and that on this 20th day of November,
 2018, a copy of the above-referenced document was
 served by         mail ❑ email ❑ hand delivery
 El fax upon:
 Douglas G. Johnson
 Johnson Beard & Trueb, PC
 330 L St
 Anchorage AK 99501
 djohnsonglctlegal.com


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 4840-6093-0688, v. 1




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